        Case 5:22-cv-02111-JMG Document 31 Filed 06/07/22 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

MARCIA DAY DONDIEGO, et al.,                     :
              Plaintiffs,                        :
                                                 :
                         v.                      :      Civil No. 5:22-cv-02111-JMG
                                                 :
LEHIGH COUNTY BOARD OF ELECTIONS,                :
et al.,                                          :
                  Defendants.                    :
__________________________________________

                                         ORDER

        AND NOW, this 7th day of June, 2022, upon consideration of the Motion to Intervene

 filed by the Republican Party of Pennsylvania and the Republican National Committee

 (collectively, the “Republican Committees”) (ECF No. 17), it is hereby ORDERED as

 follows:

        1. The Motion (ECF No. 17) is GRANTED.

        2. The Republican Committees are hereby granted intervenor status as Defendants in

            this case.

        3. The Clerk is directed to file the Republican Committees’ Answer and Affirmative

            Defenses (ECF No. 17-1).


                                                 BY THE COURT:



                                                 /s/ John M. Gallagher
                                                 JOHN M. GALLAGHER
                                                 United States District Court Judge
